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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pacific Andes Enterprises (Hong Kong) Limited

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Room 3312, Hong Kong Plaza,
                                  186 Connaught Road West
                                  HONG KONG
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                                                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Pacific Andes Enterprises (Hong Kong) Limited                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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Debtor    Pacific Andes Enterprises (Hong Kong) Limited                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   Pacific Andes Enterprises (Hong Kong) Limited                              Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    Pacific Andes Enterprises (Hong Kong) Limited                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2021
                                                  MM / DD / YYYY


                             X   /s/ Ng Puay Yee Annie                                                    Ng Puay Yee Annie
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Director




18. Signature of attorney    X   /s/ Tracy L. Klestadt                                                     Date September 8, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy L. Klestadt
                                 Printed name

                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                 Firm name

                                 200 West 41st Street
                                 17th Floor
                                 New York, NY 10036-7203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (212) 972-3000              Email address      tklestadt@klestadt.com

                                 2089985 NY
                                 Bar number and State




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Debtor    Pacific Andes Enterprises (Hong Kong) Limited                                     Case number (if known)
          Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment




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Debtor     Pacific Andes Enterprises (Hong Kong) Limited                                 Case number (if known)
           Name


Debtor     Admired Agents Ltd.                                                  Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11206
Debtor     CFG Peru Investments Pte. Ltd. (Singapore)                           Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11914
Debtor     CFGL (Singapore) Private Ltd.                                        Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11915
Debtor     Champion Maritime Ltd. (BVI)                                         Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11922
Debtor     Chanery Investment Inc. (BVI)                                        Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11921
Debtor     Chiksano Management Ltd.                                             Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11207
Debtor     China Fisheries International Ltd. (Samoa)                           Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11896
Debtor     China Fishery Group Limited (Cayman)                                 Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11895
Debtor     Clamford Holding Ltd.                                                Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11208
Debtor     Excel Concept Ltd.                                                   Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11209
Debtor     Fortress Agents Ltd. (BVI)                                           Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11916
Debtor     Gain Star Management Ltd.                                            Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11210
Debtor     Golden Target Pacific Ltd.                                           Relationship to you               Affiliate
District   Southern District of New York           When     3/27/17             Case number, if known             17-10734
Debtor     Grand Success Investment (Singapore) Private Ltd.                    Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11211
Debtor     Growing Management Ltd. (BVI)                                        Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11919
Debtor     Hill Cosmos International Ltd.                                       Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11212
Debtor     Loyal Mark Holdings Ltd.                                             Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11213
Debtor     Metro Island International Ltd.                                      Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11214
Debtor     Mission Excel International Ltd.                                     Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11215
Debtor     N.S. Hong Investment (BVI) Ltd.                                      Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11899
Debtor     Nat Prop Investments Ltd.                                            Relationship to you               Affiliate
District   Southern District of New York           When     5/02/17             Case number, if known             17-11216
Debtor     Nouvelle Foods International Ltd.                                    Relationship to you               Affiliate
District   Southern District of New York           When     3/27/17             Case number, if known             17-10733
Debtor     Ocean Expert International Ltd. (BVI)                                Relationship to you               Affiliate
District   Southern District of New York           When     6/30/16             Case number, if known             16-11917

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Debtor     Pacific Andes Enterprises (Hong Kong) Limited                                Case number (if known)
           Name


Debtor     Pacific Andes International Holdings (BVI) Ltd.                     Relationship to you               Affiliate
District   Southern District of New York          When     4/17/17             Case number, if known             17-11201
Debtor     Pacific Andes International Holdings Ltd. (Bermuda)                 Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11890
Debtor     Pacific Andes Resources Development Ltd.                            Relationship to you               Affiliate
District   Southern District of New York          When     9/29/16             Case number, if known             16-12739
Debtor     Pickenpack Europe GmbH                                              Relationship to you               Affiliate
District   Southern District of New York          When     9/22/16             Case number, if known             16-12682
Debtor     Pickenpack Holding Germany GmbH                                     Relationship to you               Affiliate
District   Southern District of New York          When     9/22/16             Case number, if known             16-12681
Debtor     Pickenpack Production Luneburg GmbH                                 Relationship to you               Affiliate
District   Southern District of New York          When     9/22/16             Case number, if known             16-12683
Debtor     Pioneer Logistics Ltd.                                              Relationship to you               Affiliate
District   Southern District of New York          When     5/02/17             Case number, if known             17-11217
Debtor     Protein Trading Ltd. (Samoa)                                        Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11923
Debtor     Sea Capital International Ltd.                                      Relationship to you               Affiliate
District   Southern District of New York          When     5/02/17             Case number, if known             17-11218
Debtor     Shine Bright Management Ltd.                                        Relationship to you               Affiliate
District   Southern District of New York          When     5/02/17             Case number, if known             17-11219
Debtor     Smart Group Ltd. (Cayman)                                           Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11910
Debtor     South Pacific Shipping Agency Ltd. (BVI)                            Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11924
Debtor     Super Investment Ltd.                                               Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11903
Debtor     Superb Choice International Ltd.                                    Relationship to you               Affiliate
District   Southern District of New York          When     5/02/17             Case number, if known             17-11220
Debtor     Target Shipping Ltd. (HK)                                           Relationship to you               Affiliate
District   Southern District of New York          When     6/30/16             Case number, if known             16-11920
Debtor     Toyama Holdings Ltd.                                                Relationship to you               Affiliate
District   Southern District of New York          When     5/02/17             Case number, if known             17-11221
Debtor     TST The Seafood Traders GmbH                                        Relationship to you               Affiliate
District   Southern District of New York          When     9/22/16             Case number, if known             16-12684
Debtor     Zhonggang Fisheries Ltd.                                            Relationship to you               Affiliate
District   Southern District of New York          When     4/17/17             Case number, if known             17-11020




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Pacific Andes Enterprises (Hong Kong) Limited                                                             Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Bonaire Development Limited                                                          50%                                        Shareholder
 Room 3312, Hong Kong Plaza,
 186 Connaught Road
 Hong Kong

 Heng Holdings (BVI) Limited                                                          50%                                        Shareholder
 Room 3312, Hong Kong Plaza,
 186 Connaught Road
 Hong Kong


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Director of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 8, 2021                                                      Signature /s/ Ng Puay Yee Annie
                                                                                            Ng Puay Yee Annie

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Pacific Andes Enterprises (Hong Kong) Limited                                            Case No.
                                                                                   Debtor(s)         Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Director of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 8, 2021                                          /s/ Ng Puay Yee Annie
                                                                        Ng Puay Yee Annie/Director
                                                                        Signer/Title




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                           BONAIRE DEVELOPMENTS LIMITED
                           ROOM 3312, HONG KONG PLAZA,
                           186 CONNAUGHT ROAD WEST
                           HONG KONG


                           BUSINESS CONSULTANTS LIMITED
                           18A, 18/F, TWO CHINACHEM PLAZA,
                           68 CONNAUGHT ROAD CENTRAL
                           HONG KONG


                           CHASTERTON GROUP LIMITED
                           ROOM 3312, HONG KONG PLAZA,
                           186 CONNAUGHT ROAD WEST
                           HONG KONG


                           CLIFFORD CHANCE US LLP
                           31 WEST 52ND STREET
                           ATTN: DOUGLAS E. DEUTSCH
                           NEW YORK, NY 10019


                           FASTACT GROUP LIMITED
                           ROOM 3312, HONG KONG PLAZA,
                           186 CONNAUGHT ROAD WEST
                           HONG KONG


                           GRANDLUCK ENTERPRISES LIMITED
                           ROOM 3312, HONG KONG PLAZA,
                           186 CONNAUGHT ROAD WEST
                           HONG KONG


                           HENG HOLDINGS (BVI) LIMITED
                           ROOM 3312, HONG KONG PLAZA,
                           186 CONNAUGHT ROAD WEST
                           HONG KONG


                           KOLOMLIN VALERIY FEDOROVICH
                           APART. 20, 6/7 STROITELEY STREET, 119311
                           MOSCOW, RUSSIA


                           MERIDIAN INVESTMENT GROUP PTE LIMITED
                           138 CECIL STREET, #12-01A CECIL COURT,
                           SINGAPORE, 069538
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                       PACIFIC ANDES ENTERPRISES (BVI) LTD.
                       C/O CLIFFORD CHANCE
                       27/F JARDINE HOUSE, ONE CONNAUGHT PLACE
                       CENTRAL, HONG KONG


                       PACIFIC ANDES INT. HOLDINGS (BVI) LTD.
                       ROOM 3312, HONG KONG PLAZA,
                       186 CONNAUGHT ROAD WEST
                       HONG KONG


                       PELICAN FOOD LIMITED
                       ROOM 3312, HONG KONG PLAZA,
                       186 CONNAUGHT ROAD WEST
                       HONG KONG


                       RAWLEY TRADING LIMITED
                       ROOM 3312, HONG KONG PLAZA,
                       186 CONNAUGHT ROAD WEST
                       HONG KONG


                       SMART CPA (HONG KONG) LIMITED
                       18A, 18/F, TWO CHINACHEM PLAZA,
                       68 CONNAUGHT ROAD CENTRAL
                       HONG KONG
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Pacific Andes Enterprises (Hong Kong) Limited                                                  Case No.
                                                                                   Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pacific Andes Enterprises (Hong Kong) Limited in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
 Bonaire Development Limited
 Room 3312, Hong Kong Plaza,
 186 Connaught Road
 Hong Kong
 Heng Holdings (BVI) Limited
 Room 3312, Hong Kong Plaza,
 186 Connaught Road
 Hong Kong




 None [Check if applicable]




 September 8, 2021                                                    /s/ Tracy L. Klestadt
 Date                                                                 Tracy L. Klestadt
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Pacific Andes Enterprises (Hong Kong) Limited
                                                                      Klestadt Winters Jureller Southard & Stevens, LLP
                                                                      200 West 41st Street
                                                                      17th Floor
                                                                      New York, NY 10036-7203
                                                                      (212) 972-3000 Fax:(212) 972-2245
                                                                      tklestadt@klestadt.com




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